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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA



      V.                                  Case No.: 21-cr-78 (EGS)



JOHN SULLIVAN

           MOTION TO SUPPRESS CUSTODIAL STATEMENTS

      Defendant, John Sullivan, by and through undersigned counsel, does

hereby move to suppress the oral custodial statements provided to Special

Agent F.B.I. Agent Matt Foulger on January 11, 2021. In support thereof,

defendant respectfully sets forth as follows:

                        I. FACTUAL BACKGROUND

      This prosecution arises out of the events that occurred at the United

States Capitol on January 6, 2021. A massive and organized investigation

arose that included law enforcement agents from virtually every state in the

country. In fact, this was one of the most intensive and large scale criminal

investigations ever conducted in the United States.

      Special Agent Matt Foulger with the F.B.I. Office in Salt Lake City,

Utah was assigned to the case of John Sullivan and had the responsibility

of overseeing all the investigative steps in the case against Mr. Sullivan.
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Special Agent Fouler was experienced in investigating domestic terrorism

and weapons of mass destruction.

        Special Agent Foulger was familiar with defendant’s 39 minute video

that was posted on his YouTube channel and was familiar with certain

statements allegedly made by defendant during the video. According to

testimony elicited from Special Agent Foulger, defendant purportedly stated

to the crowd inside the United States Capitol that he had a knife and

requested that the crowd let him go forward. Special Agent Foulger has

testified that he could not see defendant in the video but that he recognized

defendant’s voice and was familiar with defendant’s voice.1

        Special Agent Foulger described defendant in the video he viewed as

having black hair, a black goatee and wearing a black jacket while inside

the United States Capitol. The Agent has further testified that another

witness who allegedly was with defendant was interviewed by F.B.I. agents

in Washington, D.C. The witness provided information from her cellphone

as well as some CD cards that she had from footage taken on January 6,

2021.




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 It was elicited on multiple occasions that Agent Foulger recognized
defendant’s voice.
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      Special Agent Foulger interrogated defendant at his home on January

11, 2021, five days after the events at the United States Capitol. By the

time five days had passed there was an enormous and coordinated effort

involved in the investigation of crimes committed at the United States

Capitol.

      Special Agent Foulger unquestionably was actively investigating the

criminal liability of John Sullivan prior to the questioning at defendant’s

home on January 11, 2021. Agent Foulger had reviewed tapes of the

events inculpating defendant and interviewed at least one witness who was

with defendant at the time of the events that formed the basis for the

criminal investigation. Agent Foulger had seen video footage and believed

defendant was both present in the United States Capitol and possessed a

prohibited weapon while in the United States Capitol.

      The interrogation of defendant on January 11, 2021 at his home was

unannounced and defendant was informed that Foulger had spoken with

agents in the District of Columbia about the interview. The interview took

place over 40 minutes and defendant was not advised of rights pursuant to

Miranda v. Arizona.

      Defendant was specifically asked whether he was carrying a knife on

January 6, 2021 because, according to Agent Foulger, “It was important to


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our potential charges.” According to Agent Foulger, defendant said he was

trying to fit in with the crowd but denied having a knife. The interview on

January 11, 2021 was recorded by a body worn camera. Upon information

and belief there were other members of law enforcement who accompanied

Agent Foulger to defendant’s home on January 11, 2021. In addition,

defendant was not warned by Foulger that lying about a knife could bring

criminal charges.

                              II. ARGUMENT

ALL STATEMENTS MADE BY JOIHN SULLIVAN DURING THE
JANUARY 11, 2021 INTERROGATION WITH SPECIAL AGENT MATT
FOULGER MUST BE SUPPESSED BECAUSE THEY WERE OBTAINED
WITHOUT THE BENEFIT OF MIRANDA WARNINGS

      If, as expected, the United States will argue that the statements of

defendant were voluntary, suppression of the statements is still required

because defendant was not advised of his right against self-incrimination

prior to undergoing custodial interrogation. See, e.g., Pennsylvania v.

Muniz, 496 U.S. 582 (1990). A person is in “custody” under Miranda when

he “has been…deprived of freedom of action in any significant way.”

Miranda v. Arizona, 384 U.S. 436,444 (1966). Whether a person is in

custody depends “how a reasonable man in the suspect’s position would

have understood his situation.” Berkemer v. McCarty, 468 U.S. 420, 442

(1980). “[T]he term interrogation under Miranda refers not only to express
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questioning, but also to any words or actions on the part of the police (other

than those normally attendant to arrest and custody) that the police should

know are reasonably likely to elicit an incriminating response from the

suspect.” Rhode Island v. Innis, 446 U.S. 291,301 (1980).

      The Supreme Court has noted that being in custody need not include

questioning in a police facility and may even be found to exist in one’s

home or bedroom if the conduct of the law enforcement officers turned the

otherwise comfortable and familiar surroundings of the home into a police-

dominated environment. See Orozco v. Texas, 394 U.S. 324, 326-27

(1969).

      The following facts cannot be disputed.

1. The Special Agent reviewed videotape of the events at the United States

Capitol that occurred on January 6, 2021 prior to the interrogation on

January 11, 2021;

2. The Special Agent identified John Sullivan as a participant in the events

of January 6, 2021 and specifically identified him as being in possession of

a knife prior to the interrogation on January 11, 2021;

3. A witness and defendant were interviewed by the F.B.I in Washington

D.C. the day after January 6, 2021;




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4. The Special Agent showed up unannounced at defendant’s home in Salt

Lake City on January 11, 2021 in the company of at least one other law

enforcement official;

5. Defendant was questioned for approximately 40 minutes on January 11,

2021 and was never given Miranda rights;

6. The Special Agent was investigating the events at the United States

Capitol that occurred on January 6, 2021 and believed defendant was a

criminally liable participant in the events:

7. The Special Agent specifically questioned defendant about being in

possession of a knife knowing that a denial could lead to a charge of

making a false statement.

      The Special Agent unquestionably was conducting an active

investigation into the events of January 6, 2021 and specifically targeted

defendant as a subject of his investigation. The Agent was questioning

defendant about possession of a knife after already having concluded that

defendant possessed a knife. The unannounced entry into defendant’s

home by multiple law enforcement officers was not designed as a benign

conversation to further an investigative purpose. Rather, the purpose of the

40 minute interrogation was to incriminate defendant. Accordingly, Miranda

warnings were a necessary prerequisite to any questioning on January 11,


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2021. “Miranda announced that police officers must warn a suspect prior to

questioning that he has a right to remain silent, and the right to the

presence of an attorney.” Maryland v. Shatzer, 559 U.S. 98, 103 (2010).

                 III. REQUEST FOR EVIDENTIARY HEARING

      Defendant requests an evidentiary hearing to examine Special Agent

Foulger and the other law enforcement officials who participated in the

January 21, 2021 interrogation in order to complete his record related to

the legal issue raised herein.

                                 IV. CONCLUSION

      A massive and unprecedented investigation was conducted into the

events of January 6, 2021 at the United States Capitol and defendant was

specifically targeted by an experienced Special Agent of the F.B.I. as being

a participant in illegal activity on that date. A primary purpose of the

unannounced interrogation on January 11, 2021 was to obtain incriminating

information from defendant. That is the reason why the Special Agent

interrogated defendant about possession of a knife when the Special Agent

had already concluded that defendant possessed a knife from a review of

the videotape. As such, defendant should have been provided with Miranda

warnings before the interrogation commenced.




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     WHEREFORE, for the reasons stated herein, and for any other

reasons that may be adduced at an evidentiary hearing, defendant prays

this Honorable Court suppress as evidence any statements made during

the January 11, 2021 interrogation at this home.




                                         Respectfully submitted,

                                         _______/s/_______________
                                         Steven R. Kiersh #323329
                                         5335 Wisconsin Avenue, N.W.
                                         Suite 440
                                         Washington, D.C. 20015
                                         (202) 347-0200

                      CERTIFICATE OF SERVICE

     I HEREBY CERTIFY that a true and accurate copy of the foregoing
was served, via the Court’s electronic filing system, on this the
____23rd____day of September, 2021 upon Assistant U.S. Attorney
Candice Wong, Esquire.


                                  ______/s/____________________
                                  Steven R. Kiersh




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